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                              EXHIBIT A
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     CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 6 of 34 Trans ID: LCV2018824060
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     CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 11 of 34 Trans ID: LCV2018824060
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     CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 12 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 13 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 15 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 16 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 17 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 18 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 19 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 20 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 21 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 22 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 23 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 24 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 25 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 26 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 27 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 28 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 29 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 30 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 31 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 32 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 33 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 34 of 34 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 1 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 2 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 3 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 4 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 5 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 6 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 7 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 8 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 9 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 10 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 11 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 12 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 13 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 14 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 15 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 16 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 17 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 18 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 19 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 20 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 21 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 22 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 23 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 24 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 25 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 26 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 27 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 28 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 29 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 30 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 31 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 32 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 33 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 34 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 35 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 36 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 37 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 38 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 39 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 42 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 43 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 47 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 48 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 49 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 52 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 53 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 55 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 56 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 57 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 59 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 60 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 61 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 62 of 79 Trans ID: LCV2018824060
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      CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 66 of 79 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 71 of 79 Trans ID: LCV2018824060
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        CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 1 of 9 Trans ID: LCV2018824060
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        CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 2 of 9 Trans ID: LCV2018824060
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        CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 3 of 8 Trans ID: LCV2018824060
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        CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 5 of 8 Trans ID: LCV2018824060
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        CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 6 of 8 Trans ID: LCV2018824060
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        CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 7 of 8 Trans ID: LCV2018824060
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        CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 8 of 8 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 2 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 3 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 4 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 5 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 6 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 7 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 8 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 9 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 10 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 11 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 12 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 13 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 14 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 15 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 16 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 17 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 18 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 19 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 20 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 21 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 22 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 23 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 24 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 25 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 26 of 33 Trans ID: LCV2018824060
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       CAM-L-001767-18 05/10/2018 12:12:30 PM Pg 27 of 33 Trans ID: LCV2018824060
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